 Case 18-64547-sms                Doc 10 Filed 01/20/19 Entered 01/21/19 01:23:01                                   Desc Imaged
                                       Certificate of Notice Page 1 of 3
                                        UNITED STATES BANKRUPTCY COURT

                                                  Northern District of Georgia


In     Debtor(s)
Re:    T−Bird Enterprises, LLC                                       Case No.: 18−64547−sms
       3404 Morgan Road                                              Chapter: 7
       Canton, GA 30115                                              Judge: Sage M. Sigler

       81−2519791



                                            NOTICE SETTING DEADLINE FOR
                                              FILING PROOFS OF CLAIM

     You were previously notified that the schedules of the Debtor(s) disclosed no assets available for distribution to
creditors. The Trustee now reports that funds may be available for distribution.
     Therefore, you are hereby notified that, if you wish to participate in any distribution which may be paid from the
estate, you must file a proof of claim on or before:


                                            Non−government proof of claim: 4/18/19



                                              Government proof of claim: 04/18/19


                                              File with:
                                              United States Bankruptcy Court
                                              1340 United States Courthouse
                                              75 Ted Turner Drive SW
                                              Atlanta, GA 30303


Use Official Form B410 to file a claim. To file electronically visit www.ganb.uscourts.gov and access the ePOC tab. To obtain a claim form
                                      (B410) visit www.ganb.uscourts.gov and access the Forms tab.

                       If you have already filed your proof of claim, it is not necessary to refile.




                                                                                            M. Regina Thomas
                                                                                            Clerk of Court
                                                                                            U.S. Bankruptcy Court
Dated: January 18, 2019
Form ntcpoc
      Case 18-64547-sms               Doc 10 Filed 01/20/19 Entered 01/21/19 01:23:01                                Desc Imaged
                                           Certificate of Notice Page 2 of 3
                                               United States Bankruptcy Court
                                               Northern District of Georgia
In re:                                                                                                     Case No. 18-64547-sms
T-Bird Enterprises, LLC                                                                                    Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113E-9                  User: sfw2                         Page 1 of 2                          Date Rcvd: Jan 18, 2019
                                      Form ID: ntcpoc                    Total Noticed: 39


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 20, 2019.
db             +T-Bird Enterprises, LLC,     3404 Morgan Road,     Canton, GA 30115-4347
21786056       +Berkley Net,    PO Box 535080,    Atlanta, GA 30353-5080
21786057       +CCWSA,    PO Box 5000,    Canton, GA 30114-5000
21880230       +Cellco Partnership d/b/a Verizon Wireless, on beha,       William Vermette,
                 22001 Loudoun County Pkwy,     Ashburn, VA 20147-6105
21786058       +Collins Millwork,    1 Johnson St,     Cartersville, GA 30120-3275
21786059        Comcast Business,    PO Box 37601,     Philadelphia, PA 19101-0601
21786060       +Delaney Inc.,    265 Castleberry Industrial Dr,      Cumming, GA 30040-9051
21786061       +Doss Printing,    310 E. Marietta Street,      Canton, GA 30114-3017
21786062       +Dyke Industries,    6600 Best Freind Road,      Norcross, GA 30071-2917
21786063       +Fireside Natural Gas,     PO Box 116268,     Atlanta, GA 30368-6268
21786068       +Joel Ebbersburger,     106 Elm Lane,    Ellijay, GA 30540-3500
21786070       +Klumb Lumber,    11159 Bobby Williams Pkwy,      Covington, GA 30014-1101
21786072        LJ Smith/ Universal Stair Part,      919 Old Nelson Road,    Nelson, GA 30151
21786071       +Law Offices Of,    Ezra B. Jones, III,      305 Crosstree Lane,    Atlanta, GA 30328-1813
21786073       +Luke Garcia,    119 Opal Court,    Canton, GA 30115-8681
21786074       +Madison Holdings,    135 P. Rickman Ind. Drive,      Canton, GA 30115-9099
21786075       +Masterpro,    224 Brown Industrial Pkwy,      Suite 101,   Canton, GA 30114-8065
21786076       +Metrie Inc.,    40 Hopson Dr SE,     Acworth, GA 30102-3102
21786077       +Moss Supply,    5001 North Graham St.,      Charlotte, NC 28269-4826
21786078       +Net Comp,    3800 Fenandina Road,     #210,    Columbia, SC 29210-3862
21786079       +Pat Sherwood,    549 Coral Trace Blvd,      Edgewater, FL 32132-6944
21786080       +Patricia Osterhaut,     549 Coral Trace Blvd,     Edgewater, FL 32132-6944
21786081       +Plygem Windows,    5020 Westin Pkwy,     Suite 400,    Cary, NC 27513-2322
21786082       +Randall Brothers Incorporated,     665 Marietta Street NW,      Atlanta, GA 30313-2494
21786083       +Russ Gambino,    201 Carrington Way,     Canton, GA 30115-4723
21786084        Santek Waste Services,     PO Box 180600,     College Grove, TN 37046
21786085       +Southern Trust Insurance,     PO Box 250,     Macon, GA 31202-0250
21786088       +Tim Brenner,    5087 Cumming Hwy,     Canton, GA 30115-2240
21786089       +Tucker Doors,    650 Hwy 83,    Monroe, GA 30655-5359
21786090       +US Lumber,    3312 North Berkley Lake Rd NW,      Duluth, GA 30096-3253
21786093       +Waste Services of Georgia,     North Atlanta,     PO Box 180600,    Chattanooga, TN 37406-7600

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
21786064        EDI: GADEPTOFREV.COM Jan 19 2019 02:43:00        Georgia Department of Revenue,
                 Sales and Use Tax,    P. O.Box 105296,    Atlanta, GA 30348
21786065        E-mail/Text: G2GPCCU@southernco.com Jan 18 2019 22:26:58        Georgia Power,    BIN#10102,
                 241 Ralph McGill Blvd.,    Atlanta, GA 30308-3374
21786067       +EDI: IRS.COM Jan 19 2019 02:43:00       IRS,    Centralized Insolvency Operati,
                 Post Office Box 7346,    Philadelphia, PA 19101-7346
21786069       +E-mail/Text: kabbagebankruptcy@brantonlawfirm.com Jan 18 2019 22:26:37         Kabbage,
                 925 B Peachtree Street NE,    SUite 1688,     Atlanta, GA 30309-3918
21786087        EDI: AISTMBL.COM Jan 19 2019 02:43:00        T-Mobile,   P.O. Box 742596,
                 Cincinnati, OH 45274-2596
21790386        E-mail/Text: usagan.bk@usdoj.gov Jan 18 2019 22:25:00        United States Attorney,
                 Northern District of Georgia,    75 Ted Turner Drive SW, Suite 600,      Atlanta GA 30303-3309
21786092       +EDI: VERIZONCOMB.COM Jan 19 2019 02:43:00        Verizon Wireless,    P.O. Box 105378,
                 Atlanta, GA 30348-5378
21786091       +EDI: VERIZONCOMB.COM Jan 19 2019 02:43:00        Verizon Wireless,    P. O. Box 660108,
                 Dallas, TX 75266-0108
                                                                                                TOTAL: 8

              ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
21786066*         +Internal Revenue Service,   Insolvency,   P.O. Box 7317,   Philadelphia, PA 19101-7317
21786086*         +T-Bird Enterprises, LLC,   3404 Morgan Road,   Canton, GA 30115-4347
                                                                                               TOTALS: 0, * 2, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 20, 2019                                            Signature: /s/Joseph Speetjens
     Case 18-64547-sms        Doc 10 Filed 01/20/19 Entered 01/21/19 01:23:01               Desc Imaged
                                   Certificate of Notice Page 3 of 3


District/off: 113E-9         User: sfw2                   Page 2 of 2                  Date Rcvd: Jan 18, 2019
                             Form ID: ntcpoc              Total Noticed: 39

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 18, 2019 at the address(es) listed below:
              Katherine J. Hill   on behalf of Debtor   T-Bird Enterprises, LLC hickshilllaw@gmail.com
              Office of the United States Trustee   ustpregion21.at.ecf@usdoj.gov
              S. Gregory Hays   ghays@haysconsulting.net, saskue@haysconsulting.net;GA32@ecfcbis.com
                                                                                            TOTAL: 3
